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Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


 CHARTIS PROPERTY CASUALTY                             Civil Action No. _______________
 COMPANY,

                          Plaintiff,

 v.

 JOHN INGANAMORT and JOAN
 INGANAMORT,

                          Defendants.

                                         COMPLAINT

         Plaintiff Chartis Property Casualty Company (“Chartis”), by and through its undersigned

attorneys, brings this action against Defendants John Inganamort and Joan Inganamort

(collectively, “Inganamort”), and states as follows:



                                        INTRODUCTION

         1.     As set forth in more detail below, Inganamort has sought insurance coverage from

Chartis under a marine policy of yacht insurance in connection with the alleged September 15,

2011 partial sinking of a docked private yacht.




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          2.   An actual controversy presently exists between Chartis and Inganamort as to the

existence, scope and extent of coverage, if any, available to Inganamort in connection with the

alleged September 15, 2011 loss.

          3.   Accordingly, Chartis brings this action for a declaration of its rights and

obligations and/or for rescission in order to fairly and expeditiously address the issues set forth

herein.

                                            PARTIES

          4.   Chartis maintains an office where the subject insurance claims are handled in

Berkeley Heights, New Jersey. Furthermore, Chartis is a corporate entity organized under the

laws of the State of Pennsylvania with its principal place of business in the State of New York.

          5.   Upon information and belief, Defendants John Inganamort and Joan Inganamort

are each natural persons who at all relevant times maintained a principal residence in the State of

New Jersey.

                                JURISDICTION AND VENUE

          6.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1333, inasmuch as the action concerns a policy of marine insurance on a vessel, which is

deemed a maritime contract, giving rise to admiralty and maritime jurisdiction.

          7.   Additionally, this Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332, inasmuch as the parties are diverse and the alleged sum or value in

controversy, exclusive of interest and costs, exceeds the jurisdictional threshold amount.

          8.   Pursuant to Fed. R. Civ. Pro. 9(h), the claims in this action are designated and

brought within the Court’s admiralty and maritime jurisdiction.




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         9.    This Court has personal jurisdiction over Inganamort because, upon information

and belief, each of these defendants maintain a principal residence in the State of New Jersey.

         10.   Venue is appropriate in the District of New Jersey pursuant to 28 U.S.C.

§ 1391(b), inasmuch as a substantial part of the events giving rise to this insurance action,

including claims handling and delivery of the Policy, took place in this District.

                                  FACTUAL ALLEGATIONS

         The Policy

         11.   Chartis issued Private Client Group Yacht Insurance policy number PM 134-13-

12, effective May 16, 2011 to May 16, 2012, to John and Joan Inganamort (the “Policy”), a copy

of which is annexed hereto as Exhibit “A”.

         12.   The Policy was delivered to Inganamort at the address specified in the policy in

Fort Lee, New Jersey.

         13.   The Policy insured a 65-foot, 1996 Sportfish vessel (the “Yacht”). The Yacht was

berthed in Boca Raton, Florida, and according to the Policy, had Navigational Limits in and

around various jurisdictions, including the State of New Jersey.

         Alleged Loss

         14.   On or about September 15, 2011, Inganamort purportedly suffered a loss

involving the partial sinking of the Yacht while docked in Boca Raton, Florida.

         15.   On or about October 14, 2011, Chartis was informed by telephone from

Inganamort’s insurance agent of the alleged loss.

         16.   On October 17, 2011, Chartis sent a letter to Inganamort at their New Jersey

address acknowledging the alleged loss and expressly reserving all rights under the Policy.




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         Post-Loss Investigation

         17.   On October 17, 2011, Chartis retained a marine surveyor, Dave Morris, who

telephoned Inganamort’s designated Yacht captain, Brian Larosiere (“Capt. Larosiere”).

Following their telephone discussion, Chartis’ marine surveyor sent Capt. Larosiere a letter

confirming that it is the insureds’ responsibility to mitigate further damage, and to request

confirmation that the Yacht was safely afloat and not in danger of additional water ingress.

         18.   On October 24, 2011, Chartis’ marine surveyor conducted a preliminary survey of

the Yacht in the presence of Capt. Larosiere.

         19.   On November 2, 2011, Chartis sent an email to Inganamort enclosing a copy of its

marine surveyor’s preliminary yacht survey report, a copy of which is annexed hereto as Exhibit

“B”. Due to the apparent continuing post-loss intrusion of water into the vessel, Chartis

requested the vessel to be hauled and agreed to pay for the cost to haul and block the vessel.

         Requests for Records

         20.   Since its receipt of the alleged loss, Chartis has made numerous verbal and written

requests for Inganamort to provide records and documents, including without limitation, through

correspondence sent in on October 17, November 3 and 5, and December 15, 2011, and on

January 18, February 13, 15, and 27, March 5, 8, 20, 22, 26, 28, and 30, April 6, 10, and 26, May

2 and 29, and June 21 and 27, 2012.

         21.   As of the date of filing of this Complaint, Inganamort has yet to provide various

categories of information requested by Chartis in connection with its investigation.




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         Examinations Under Oath

         22.     Chartis also requested, including by letters dated December 15, 2011 and January

18, 2012, that Inganamort and Capt. Larosiere each appear for an examination under oath

(“EUO”) in connection with its investigation of the subject loss.

         23.     Following several requests and exhanges, Inganamort finally appeared for his

EUO on March 6, 2012, and Capt. Larosiere finally appeared for his EUO on April 11, 2012.

         Joint Survey

         24.     Based on the limited information provided concerning the condition of the Yacht,

Chartis also requested, including on March 8, April 11, April 26, and May 29, 2012, that the

parties conduct a joint survey of the Yacht.

         25.     On June 8, 2012, Chartis was finally advised that Inganamort did not intend to

participate in a joint survey, but Chartis would be permitted to conduct its own survey of the

Yacht.

         26.     On June 28, 2012, Chartis’ marine surveyor and other retained consulting experts

conducted a survey of the Yacht.

         Ongoing Investigation

         27.     As set forth in more detail below, Chartis’ investigation indicates, contrary to

and/or omitted from representations made prior to the issuance of the Policy, that the Yacht had

no full-time paid Captain, was not owned by Inganamort, and has not been in regular use for

several years.

         28.     Chartis’ good faith investigation of the subject loss is ongoing by reason of

Inganamort’s failure, refusal and/or delay in cooperation. Disputes have arisen, and will likely

continue to arise, concerning the existence, scope and extent of coverage, if any, available to




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Inganamort in connection with the subject loss. Accordingly, Chartis brings this action for a

declaration of its rights and obligations and/or for rescission in order to fairly and expeditiously

address the foregoing issues.

                                          COUNT ONE

                                DECLARATORY JUDGMENT

         29.   Chartis repeats and realleges each of the allegations contained in Paragraphs 1

through 28, including any and all subparts, as through fully set forth herein.

         30.   The Policy, as set forth in more detail therein, provides coverage for “physical

loss or damage to your yacht . . . subject to the Navigational Limits and all policy terms,

conditions, and exclusions.” See Policy, Exhibit A.

         31.   The Policy contains an express warranty which states in pertinent part that “[i]t is

warranted that the yacht will always be under the care and control of an approved, full-time paid

Captain. Brian Larosiere is approved as Captain.” See id.

         32.   The Policy contains various exclusions, including without limitation, an exclusion

for “gradual or sudden loss” which provides that there is no coverage for any loss, damage, claim

or expense caused directly of indirectly, in whole or in part by “osmosis, blistering, fiberglass or

suface coat blistering, electrolysis, rust, corrosion or oxidation, marine life, marine borers, moth

or vermin, rot, fungus, mold or infestation, warping or shrinkage, change of temperature or

humidity, deterioration, lack of maintenance, wear and tear, inherent vice.” See id.

         33.   The Policy is subject to various conditions precedent to coverage, including a

requirement of “due diligence” which provides that “[i]t shall be the duty of every insured person

to exercise due diligence to maintain all insured property in good condition and repair and in

seaworthy condition.” See id.




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         34.   The Policy is subject to various conditions subsequent, including certain “duties

after a loss” which require the insured to “[g]ive prompt notice” of any incident that may result

in a claim, to “[p]rotect the property from further damage”, to “[k]eep an accurate record of all

repair expenses and provide us with bills, receipts and related documents”, to “[a]llow inspection

and testing of the damaged property”, to “[p]rovide us with records and documents we request”,

and to “[s]ubmit to separate examination under oath”. See id.

         35.   Pursuant to federal admiralty and maritime law, the claimed partial sinking of a

vessel at its dock in calm water is presumed to have resulted from its unseaworthy condition.

         36.   Upon information and belief, the claimed partial sinking of the Yacht at its dock

resulted from Inganamort’s failure to maintain the Yacht in good condition and repair and in

seaworthy condition, and is therefore not covered by the Policy.

         37.   Upon information and belief, Capt. Larosiere was not employed as a full-time

paid captain of the Yacht as required by the Policy, and no money was paid by Inganamort to

Capt. Larosiere during 2011.

         38.   Further, upon information and belief, Inganamort and/or their agents reported that

Capt. Larosiere had inspected the Yacht the day before the claimed September 15, 2011 loss and

found the yacht to be in good condition, and also that alleged September 15, 2011 loss resulted

from severe weather conditions where the Yacht was docked. Chartis’ investigation, however,

indicates that weather data pertaining to the area depicted no significant precipitation between

September 14, 2011, when Capt. Larosiere reportedly last found the Yacht to be in good

condition, and the September 15, 2011 loss.

         39.   Moreover, since the alleged September 15, 2011 loss, Inganamort has repeatedly

and continously failed, refused and/or delayed in cooperating with Chartis’ investigation,




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including without limitation, by refusing to provide requested records and documents, by

delaying in submitting to EUOs, and by delaying in permitting inspections and testing of the

Yacht.

         40.     Accordingly, coverage for the alleged September 15, 2011 loss is barred and/or

limited by various terms, conditions and/or exclusions of the Policy, including without limitation

for one or more of the following reasons:

         (a)     Coverage is barred to the extent that the subject loss does not involve physical

loss or damage to the insureds’ yacht within the meaning of the Policy;

         (b)     Coverage is barred to the extent that the subject loss was non-fortuitous;

         (c)     Coverage is barred to the extent that any of the alleged physical loss or damage to

the Yacht did not occur during the Policy period;

         (d)     Coverage is barred to the extent that Inganamort failed to comply with any

warranty, including without limitation the warranty that the yacht will always be under the care

and control of an approved full-time paid Captain, as required by the Policy;

         (e)      Coverage is barred to the extent that the subject loss is subject to any exclusions,

including without limitation the exclusions for gradual or sudden loss, latent defect,

manufacturing and design defects, and/or loss of use or value, contained in the Policy;

         (f)     Coverage is barred to the extent the insureds failed to comply with all conditions

precedent, including without limitation the due diligence condition, which requires the insured to

maintain all insured property in good condition and repair and in seaworthy condition, contained

in the Policy;




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         (g)   Coverage is barred to the extent that the insured failed to comply with all

conditions subsequent, including without limitation compliance with the post-loss notice and

cooperation requirements, contained in the Policy;

         (h)   Coverage is barred to the extent that any loss, damage, claim or expense resulted

from any act or omission reasonably expected to cause physical loss or damage, within the

meaning of the Policy;

         (i)   Coverage is barred to the extent that any loss, damage, claim or expense resulted

while the Yacht was being used for other than private pleasure purposes;

         (j)   Coverage is barred to to the extent that the Yacht was sold, transferred to a new

owner, or the controlling interest in the owning legal entity has changed;

         (k)   Coverage is barred to the extent that other insurance may apply to the subject loss;

         (l)   Coverage is barred to the extent that any information provided to Chartis is

incomplete or inaccurate or if any material information has been withheld either at the time of

applying for the Policy, during the policy period, before or after a loss;

         (m)   Coverage is barred to the extent that the insureds failed to mitigate and/or to

protect the property from further damage after the subject loss;

         (n)   The subject loss has not been presented with sufficient particularity so as to make

Chartis aware of all policy terms, conditions, provisions, warranties, exclusions or other defenses

which are or may become available so as to bar or limit coverage. Chartis accordingly reserves

the right to amend this Complaint and/or assert all applicable defenses if and when additional

information becomes available.




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          41.   Chartis therefore seeks a judicial determination from this Court declaring whether

 and to what extent it has an obligation to provide insurance coverage to Inganamort in

 connection with the alleged September 15, 2011 loss under the Policy.

                                           COUNT TWO

                    MATERIAL MISREPRESENTATIONS / RESCISSION

          42.   Chartis repeats and realleges each of the allegations contained in Paragraphs 1

 through 41, including any and all subparts, as though fully set forth herein.

          43.   Pursuant to federal maritime law, the doctrine of uberrimae fidei imposes a duty

 of the utmost good faith which requires an insured to disclose to an insurer all facts and

 information material to a marine insurance policy.

          44.   Likewise, the Policy expressly provides that “[t]his contract of insurance is void if

 any information provided to us is incomplete or inaccurate or if any material information has

 been withheld either at the time of applying for this policy, during the Policy Period, before or

 after a loss.” See Policy, Exhibit A.

          45.   Additionally, the Policy provides that “[i]f the yacht is sold, transferred to a new

 owner, or the controlling interest in the owning legal entity is changed, this insurance will be

 void and of no further force and effect and cancelled from the time of such sale, transfer or

 change of ownership.” See id. The Policy further provides that “[n]o change or modification of

 this policy shall be effective except when made by written endorsement signed by our legal

 representative.” See id.

          46.   Upon information and belief, Inganamort represented to Chartis prior to the

 issuance of the Policy that Capt. Larosiere was employed as the full-time paid Captain of the

 Yacht.




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          47.   Upon information and belief, Capt. Larosiere was not employed as a full-time

 paid Captain of the Yacht and no money was paid by Inganamort to Capt. Larosiere during 2011.

          48.   Upon information and belief, Inganamort represented to Chartis prior to the

 issuance of the Policy that they were the owners of the Yacht.

          49.   Upon information and belief, the Yacht is not owned by Inganamort, but rather by

 a separate corporation.

          50.   Upon information and belief, Inganamort did not disclose to Chartis prior to the

 issuance of the Policy that the Yacht was not in regular use, while in fact, Inganamort had not

 been aboard the Yacht for several years prior to the subject loss, the Yacht has been intermittedly

 offered for sale since 1999, and the Yacht has not been operating, nor was intended to operate on

 any voyages, other than for the purposes of demonstrating the yacht for sale.

          51.   The revelations that the Yacht did not have a full-time paid Captain as required by

 the Policy, was not owned by Inganamort, and/or had not been in regular use for years, were

 material to the acceptance of the risk and the hazards assumed by Chartis. Had Chartis been

 made aware of this information at the time of quoting or issuing the Policy, Chartis would not

 have issued the Policy on the same terms, conditions, or premium.           As a result of these

 misrepresentations, omissions, concealment of facts and/or incorrect statements, the Policy is

 void by its terms and/or should be rescinded.

          52.   Moreover, upon information and belief, the Policy is void inasmuch as

 Inganamort and/or their agents have made post-loss material misrepresentions, omissions,

 concealment of facts and/or incorrect statements, including with respect to the weather

 conditions which allegedly preceeded the subject loss.




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          53.      Chartis is prepared to tender the premium it received for the Policy to the Court at

 the proper time.

                                            COUNT THREE

           RESERVATION TO ASSERT ADDITIONAL GROUNDS FOR
     DECLARATORY JUDGMENT, MISREPRESENTATION AND/OR RESCISSION

          54.      Chartis repeats and realleges each of the allegations contained in Paragraphs 1

 through 53, including any and all subparts, as through fully set forth herein.

          55.      Chartis’ investigation with respect to potential coverage under the Policy is still

 ongoing.

          56.      Chartis brings this action for a declaration of its rights and obligations under the

 Policy and/or for rescission of the Policy in order to promptly address the issues set forth herein.

          57.      Additional independent grounds may be available to support rescission or a

 declaration that coverage is barred and/or limited with respect to the alleged September 15, 2011

 loss. By not specifically raising any such limitations or exclusions at this time, Chartis expressly

 does not waive any of its rights under the Policy and/or at law. To the contrary, Chartis’

 investigation is ongoing, and it continues to fully reserve all of its rights under the Policy and/or

 at law, and specifically reserves all of its rights to amend this Complaint to assert additional

 grounds to support rescission and/or a declaration that coverage is barred and/or limited with

 respect to the subject loss.

                                        PRAYER FOR RELIEF

          WHEREFORE, Chartis respectfully requests that the Court enter judgment against

 Inganamort and in its favor as follows:

          a. Declare the rights and obligations of the parties, and specifically enter a judgment

                declaring that Chartis owes no coverage for the subject September 15, 2011 loss;



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          b. Rescind the Policy due to misrepresentations, omissions, concealment of facts and

               incorrect statements material to the hazard assumed by Chartis;

          c. Award Chartis reasonable attorneys’ fees and costs of suit; and

          d. Award such other or additional relief as this Court deems just, equitable and proper.

                                                        CONNELL FOLEY LLP


                                                        s/Jonathan P. McHenry________________
 Dated: July 2, 2012                                    Jonathan P. McHenry
                                                        Neil V. Mody
                                                        85 Livingston Avenue
                                                        Roseland, New Jersey 07068
                                                        Tel: (973) 535-0500
                                                        Fax: (973) 535-9217


                  CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

          Pursuant to Local Civil Rule 11.2, I am not aware that the matter in controversy is the

 subject of any other action pending in any court or of any pending arbitration or administrative

 proceeding, other than John Inganamort's filing of an administrative Civil Remedy Notice No.

 2030257 against Chartis with the Florida Department of Financial Services. Chartis filed its

 response to this Notice and specifically asserted that the Policy was issued in a state other than

 Florida and delivered to Inganamort in New Jersey. Accordingly, it is Chartis' position that

 Florida law and the provisions under which John Inganamort filed the Civil Remedy Notice are

 inapplicable to any disputes arising in connection with the claim asserted by Inganamort under

 the Policy.



 Dated: July 2, 2012                             s/Jonathan P. McHenry________________
                                                 Jonathan P. McHenry




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                CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 201.1

          I hereby certify that the above-captioned matter is not subject to compulsory arbitration

 pursuant to Local Civil Rule 201.1 as equitable relief has been requested.



 Dated: July 2, 2012                           s/Jonathan P. McHenry________________
                                               Jonathan P. McHenry




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